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                              EXHIBIT B
                                       to
                       PLAINTIFF’S OPPOSITION TO
     THE UVA DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
Case 3:19-cv-00054-NKM-JCH Document 368-2 Filed 04/20/22 Page 2 of 5 Pageid#: 4919




                                                                                                                                                 
    From: Fleming, Eric S. <EFleming@mcguirewoods.com>
    Sent: Monday, April 18, 2022 8:31 PM
    To: Lockerby, Michael J. <MLockerby@foley.com>; Robert Yates <RYates@ohaganmeyer.com>; C.
    Quinn Adams <CAdams@ohaganmeyer.com>
    Cc: Thompson, Farnaz Farkish <FThompson@mcguirewoods.com>; Howard, Brandi G.
    <BHoward@mcguirewoods.com>
    Subject: Bhattacharya v. Murray: Responses and Objections to 4th Discovery Requests (RFAs)

    ** EXTERNAL EMAIL MESSAGE **
    Dear counsel,

    On behalf of Farnaz Thompson, please find attached Defendants’ Objections and Responses to
    Plaintiff’s 4th Discovery Requests, specifically the responses to Requests for Admission Nos. 134
    through 196. Defendants will supplement with their objections and responses to the relevant
    Requests for Production and Interrogatories by the end of this week. Best regards,

    Eric S. Fleming
    Associate
    McGuireWoods LLP
    Gateway Plaza
    800 East Canal Street
    Richmond, VA 23219-3916
    T:   +1 804 775 1806
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    Food & Product Labeling Emergency Hotline: labelinghotline@mcguirewoods.com and +1 804 775
    7878
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    For a good part of the day, I will be in transit between Richmond and Northern Virginia in connection
    with a hearing in Fairfax County Circuit Court. For a period of time in the afternoon, I will have no
    cell phone or email access but hope to be available by 3:30 p.m. When I do become available, I will
    unfortunately be available only by cell phone.

    In closing, I apologize for having to bring this matter before the Court on such short notice.


    Michael J. Lockerby
    Partner


    Foley & Lardner LLP
    3000 K Street, N.W., Suite 600, Washington, DC 20007-5109
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    From: ecfnoticing@vawd.uscourts.gov <ecfnoticing@vawd.uscourts.gov>
    Sent: Wednesday, April 13, 2022 3:28 PM
    To: vawd_ecf_nef@vawd.uscourts.gov
    Subject: Activity in Case 3:19-cv-00054-NKM-JCH Bhattacharya v. Murray, Jr., et al Order to Respond

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                                                  U.S. District Court

                                            Western District of Virginia

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    Case Name:       Bhattacharya v. Murray, Jr., et al
    Case Number:     3:19-cv-00054-NKM-JCH
    Filer:
    Document Number: 358(No document attached)

    Docket Text:
    ORAL ORDER: Plaintiff shall respond to Defendants' motion for protective
    order, ECF No. 344, no later than April 19, 2022. Defendants may file a reply no
    later than April 22, 2022. Entered by Magistrate Judge Joel C. Hoppe on
    04/13/2022. This Notice of Electronic Filing is the Official ORDER for this entry.
    No document is attached.(dg)


    3:19-cv-00054-NKM-JCH Notice has been electronically mailed to:

    Michael J. Lockerby    mlockerby@foley.com

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Case 3:19-cv-00054-NKM-JCH Document 368-2 Filed 04/20/22 Page 5 of 5 Pageid#: 4922


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